Case 4:12-cr-20287-MAG-MJH ECF No. 301, PageID.1232 Filed 08/21/13 Page 1 of 6




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                   Plaintiff,               CASE NO. 12-20287

      v.                                    HON. MARK A. GOLDSMITH
                                            United States District Court Judge
D-12 JAMIL CURETON,

               Defendant.
________________________________/

                        OPINION AND ORDER
              DENYING DEFENDANT’S MOTION TO SET BOND

      This matter is before the Court on Defendant’s motion to set bond (Dkt.

293). The Court conducted a hearing on the motion on August 20, 2013. After

considering the arguments made at the hearing and in the filings, the Court denies

the motion.

      Defendant is charged in the amended first superseding indictment with

Count One: Racketeering Conspiracy, 18 U.S.C. § 1962(d); and Count Twelve:

Distribution of Cocaine Base, 21 U.S.C. § 841(a)(1). (Dkt. 191). He is currently

detained pursuant to an order of detention (Dkt. 53) entered by Magistrate Judge

Michael Hluchaniuk on May 10, 2012. Defendant then filed the present motion,

asking the Court to grant him a bond.
Case 4:12-cr-20287-MAG-MJH ECF No. 301, PageID.1233 Filed 08/21/13 Page 2 of 6




      Although the Magistrate Judge determined that Defendant should not remain

at liberty pending trial, that determination is entitled to no deference from this

Court. United States v. Yamini, 91 F. Supp. 2d 1125, 1128 (S.D. Ohio 2000).

Instead, the Court is required to conduct a de novo review of the facts and

circumstances. Id. The Court has great latitude in deciding whether to conduct a

new hearing or review transcripts of the proceedings conducted before the

Magistrate Judge. United States v. Hammond, 204 F. Supp. 2d 1157, 1162 (E.D.

Wis. 2002). This Court elected to conduct a new hearing, at which it heard

argument and considered proffered facts from both sides.

      The Bail Reform Act of 1984 provides that a defendant must be detained

pending trial if “no condition or combination of conditions will reasonably assure

the appearance of defendant and the safety of any person and the community.” 18

U.S.C. § 3142. The Act further provides that the judicial officer shall order

detention, unless the officer is satisfied, by clear and convincing evidence, that no

condition or combination of conditions will reasonably assure the appearance of

the defendant and the safety of any person and the community. 18 U.S.C. §

3142(f)(2)(b). The statute lists four factors in § 3142(g), all of which the Court has

considered in reaching its decision to deny Defendant’s motion.




                                          2
Case 4:12-cr-20287-MAG-MJH ECF No. 301, PageID.1234 Filed 08/21/13 Page 3 of 6




      Nature and Circumstances of Offense Charged: The circumstances relating

to the charge contained in Count One relate to Defendant’s membership and

association with a violent criminal street gang known commonly as the “Howard

Boys.” As alleged in the indictment, this criminal enterprise controlled the drug

trade in and around the Howard Estates public housing complex on Flint,

Michigan’s south side from 2002 until May 2, 2012. The gang used violence and

the threat of violence in order to control this territory. Many of these acts of

violence, including murders and attempted murders, are set forth in the amended

first superseding indictment. Defendant is specifically alleged, as a part of his

involvement with this criminal enterprise, to have possessed crack cocaine with the

intent to distribute it, possessed a handgun, and sold crack cocaine.

      In addition to Count One, Defendant is charged in Count Twelve with a

substantive count of distributing crack cocaine on September 9, 2009. Defendant

is alleged to have sold crack cocaine to a customer who was subsequently arrested

and found in possession of the crack cocaine. The customer identified Defendant

as the individual who sold her the crack cocaine. This charge carries with it a

presumption in favor of detention pursuant to 18 U.S.C. § 3142(e)(2)(A). Clearly,

the nature of the alleged offenses and the surrounding circumstances were serious.




                                          3
Case 4:12-cr-20287-MAG-MJH ECF No. 301, PageID.1235 Filed 08/21/13 Page 4 of 6




      Weight of the Evidence: This factor, referencing the degree to which a

defendant is dangerous, United States v. Stone, 608 F.3d 939, 948 (6th Cir. 2010),

has been clearly established. Defendant allegedly associates with a violent street

gang known as the Howard Boys. He also has a criminal history of involvement

with narcotics and possessing a firearm.

      History and Characteristics of Defendant: On the one hand, the Court notes

that Defendant has family support, ties to the community, and potential

employment available should he be released. The Court finds that with these

factors, the presumption in favor of detention is rebutted.           Defendant’s

involvement with narcotics, weapons and gang affiliation, however, raise

paramount concerns. Defendant has three prior felony convictions relating to

narcotics, two prior felony offenses relating to weapons, and two convictions

involving the failure to obey law enforcement. Defendant also amassed several

probation violations while serving probationary sentences for the aforementioned

offenses. Moreover, Defendant was on parole when Count Twelve is alleged to

have been committed.

      Additionally, and in conjunction with Defendant’s demonstrated failure to

follow court and law enforcement directives as noted above, Defendant’s

sentencing guideline range provides Defendant with an enormous incentive to flee.

Even if Defendant is found not to be a career offender as suggested by defense


                                           4
Case 4:12-cr-20287-MAG-MJH ECF No. 301, PageID.1236 Filed 08/21/13 Page 5 of 6




counsel, Defendant’s sentencing guideline range is still of the type that incentivizes

flight from prosecution.

      Nature and Seriousness of Danger: As for the nature and seriousness of the

danger to any person or the community that would be posed by Defendant’s

release, as noted above, Defendant was associated with the Howard Boys, a violent

street gang, was involved in the distribution of narcotics, and was involved with

the illegal possession of a firearm. Even if a less restrictive alternative to detention

were employed, such as release with a GPS tether, it would not alleviate the danger

that Defendant poses to the community.

      The Court has thoroughly reviewed all of the facts and circumstances and

concludes that, by clear and convincing evidence, there is no set of conditions that

would reasonably assure the appearance of Defendant and the safety of the

community. For all these reasons, the Court denies Defendant’s motion to set bond

(Dkt. 293).

      SO ORDERED.



Dated: August 21, 2013                         s/Mark A. Goldsmith
      Flint, Michigan                          MARK A. GOLDSMITH
                                               United States District Judge




                                           5
Case 4:12-cr-20287-MAG-MJH ECF No. 301, PageID.1237 Filed 08/21/13 Page 6 of 6




                         CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon
counsel of record and any unrepresented parties via the Court's ECF System to
their respective email or First Class U.S. mail addresses disclosed on the Notice of
Electronic Filing on August 21, 2013.

                                             s/Deborah J. Goltz
                                             DEBORAH J. GOLTZ
                                             Case Manager




                                         6
